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 9          kmoran@rivco.org
10

11
     Attorneys for Defendant COUNTY OF RIVERSIDE
12

13
                             UNITED STATES DISTRICT COURT
14
                            CENTRAL DISTRICT OF CALIFORNIA
15
     QUINTON GRAY, et al., on behalf of       )   CASE NO. EDCV13-0444 VAP (OP)
16   themselves and all others similarly      )
     situated,                                )   CLASS ACTION
17                                            )
          Plaintiffs,                         )   JOINT STATUS REPORT RE
18                                            )   MEDIATION EFFORTS AND
     v.                                       )   ONGOING DISCUSSIONS BETWEEN
19                                            )   COUNSEL
     COUNTY OF RIVERSIDE,                     )
20   Defendant.                               )
                                              )   JUDGE: Hon. Virginia Phillips
21                                            )   DATE: TBD
                                              )   TIME: TBD
22                                            )   COURTROOM: 8A
                                              )   LOCATION: 350 W. First Street, Los
23                                            )   Angeles, CA 90012
                                              )
24

25   TO THE HONORABLE COURT:
26
            Counsel for PLAINTIFFS, QUINTON GRAY, et al., on behalf of themselves and all
27
     others similarly situated, and counsel for DEFENDANT, COUNTY OF RIVERSIDE
28
                                              1
      JOINT STATUS REPORT RE MEDIATION EFFORTS AND ONGOING DISCUSSIONS BETWEEN COUNSEL
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 1
     hereby offer the following Joint Status Report concerning mediation effort and ongoing

 2   discussions between counsel:
 3
           1.      On April 6, 2020, Plaintiff Quinton Gray (“Plaintiff”) filed a document
 4

 5   captioned “Emergency Motion to Enforce Consent Decree.” (“Motion,” Dkt. 177).

 6   Defendant County of Riverside (“Defendant”) opposed the Motion on April 10, 2020
 7
     (“Opp.,” Dkt. 183).
 8

 9         2.      On April 13, 2020, counsel for the Parties appeared before this Court at a

10   hearing on the Emergency Motion.
11
           3.      Following the hearing, the Court ordered that the Parties proceed with
12

13   mediation before Judge Ramirez on April 17, 2020.

14         4.      The Court further granted Plaintiffs’ request that Defendant be required “to
15
     develop and implement a plan to minimize the spread of COVID-19 in the Riverside County
16

17   jails, consistent with the guidance of the Centers for Disease Control and Prevention (CDC)

18   and the Court experts”.
19
           5.      On April 17, 2020, the Parties engaged in a telephonic mediation with Judge
20

21   Ramirez. Throughout the mediation, Defendants provided information which satisfied a
22   significant number of the issues posed by Plaintiffs. Additionally, Defendant is in process
23
     of preparing a written plan to provide to Plaintiffs, pursuant to the April 14, 2020 Order of
24

25   this Court.
26         6.      Defendant agreed to provide certain information to counsel for Plaintiffs,
27
     including:
28
                                              2
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 1
                a. A written plan detailing the steps that Behavioral Health has taken and will take

 2                 to provide stimulation for inmates, both those in quarantine/isolation and those
 3
                   not. This document was provided to counsel for Plaintiffs on Tuesday, April
 4

 5                 21, 2020;

 6              b. Further details concerning the inmate population, including identification by
 7
                   Correctional Health Services of the number of those inmates who may be at a
 8

 9                 higher risk of severe illness from COVID-19 due to factors such as age and

10                 underlying health condition. This document was provided to counsel for
11
                   Plaintiffs on Wednesday, April 22, 2020;
12

13              c. A written plan detailing the Sheriff’s Department’s efforts and commitments to

14                 combat the spread of COVID-19 in the jails, including changes in housing,
15
                   sanitation practices, and personal hygiene. This document was provided to
16

17                 counsel for Plaintiffs on Tuesday, April 21, 2020.

18         7.      Additional documents requested by counsel for Plaintiffs are being prepared
19
     and will be provided to counsel on Friday, April 24, 2020.
20

21         8.      Furthermore, the parties have established a process for providing updated
22   information to Plaintiffs’ counsel concerning the testing for and occurrences of COVID-19
23
     in the jails. For the length of time that the State of Emergency declared by Governor
24

25   Newsom on March 4, 2020 exists in California, Plaintiffs’ counsel will be provided with the
26   following information every Monday, Wednesday, and Friday:
27
                a. the number of COVID-19 tests performed on the incarcerated population;
28
                                              3
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 1
                 b. the number of confirmed cases among people living in the jails (including

 2                  names, booking numbers, and locations) and the number of confirmed cases
 3
                    among jail staff to the extent that information is known and available;
 4

 5               c. the number of people living in the jails who are on quarantine or medical

 6                  isolation and their location;
 7
                 d. the number of people living in the jails who have been sent to the hospital with
 8

 9                  COVID-19 complications; and

10               e. the number of deaths among people living in the jails, and among staff to the
11
                    extent that information is known and available.
12

13         9.       All information referenced in Paragraph 6(b), 7, and 8 and provided to

14   Plaintiffs’ counsel will be subject to the Stipulated Protective Order in this matter, signed
15
     by the Court on October 21, 2013 (Docket No. 19).
16

17         10.      It is anticipated by counsel that the parties will be able to reach agreement on

18   any outstanding issues. If additional issues remain, counsel agree to return to Judge Ramirez
19
     on an expedited basis for further mediation assistance.
20

21
                                                          /s/ Sara Norman
     Dated: April 24, 2020                          By:
                                                          SARA NORMAN
22                                                        THE PRISON LAW OFFICE
                                                          Attorneys for Plaintiffs,
23                                                        QUINTON GRAY et al.
24

25                                                        /s/ Art Cunningham
     Dated: April 24, 2020                          By:
26                                                        ARTHUR K. CUNNINGHAM
                                                          LEWIS BRISBOIS BISGAARD & SMITH LLP
27                                                        Attorneys for Defendant,
                                                          COUNTY OF RIVERSIDE
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           Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, ARTHUR K. CUNNINGHAM, attest that
 1
     all signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 2
     content and have authorized the filing.
 3
                                                 /s/ Art Cunningham
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                                      PROOF OF SERVICE
 1
                 United States District Court Case No. 5:13-cv-00444-VAP-OP
 2
           I, the undersigned, say that I am a citizen of the United States and am employed in
 3   the county of Riverside, over the age of 18 years and not a party to the within action or
     proceeding; that my business address is: 3960 Orange Street, Suite 500, Riverside, CA
 4   92501-3611.
 5         On     April 24, 2020   , a true and correct copy of the foregoing document entitled:
 6   JOINT STATUS REPORT RE MEDIATION EFFORTS AND ONGOING
     DISCUSSIONS BETWEEN COUNSEL
 7
     was served on all parties pursuant to FRCivP 5(b) as follows:
 8

 9                                            Arthur Kenneth Cunningham
       Donald Specter
       Prison Law Office                      Lewis Brisbois Bisgaard and Smith LLP
10     1917 Fifth Street                      Tri-City Corp Center
       Berkeley, CA 94710                     650 East Hospitality Lane Suite 600
11     510-280-2621
       Fax: 510-280-2704                      San Bernardino, CA 92408-3508
12     Email: dspecter@prisonlaw.com          909-387-1130
13                                            Fax: 909-387-1138
                                              Email: akcatty@lbbslaw.com
14
       Sara Linda Norman                      Christopher D Lockwood
15     Prison Law Office
       1917 Fifth Street                      Arias and Lockwood
16     Berkeley, CA 94710                     1881 South Business Center Drive Suite 9A
       510-280-2621                           San Bernardino, CA 92408
17     Fax: 510-280-2704
       Email: snorman@prisonlaw.com           909-890-0125 Fax: 909-890-0185
18                                            Email:
19                                            christopher.Lockwood@ariaslockwood.com
       Shawn Everett Hanson                   Stephanie Joy M Tanada
20     Akin Gump Strauss Hauer and Feld
            LLP                               Lewis Brisbois Bisgaard and Smith LLP
21     580 California Street 15th Floor       Tri-City Corp Center
       San Francisco, CA 94104-1036           650 Hospitality Lane Suite 600
22     415-765-9500
       Fax: 415-765-9501                      San Bernardino, CA 92408-3508
23     Email: shanson@akingump.com            909-387-1130 Fax: 909-387-1138
                                              Email: tanada@lbbslaw.com
24     Danielle C Ginty
       Akin Gump Strauss Hauer & Feld
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26     San Francisco, CA 94104
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27     Fax: 415-765-9501
       Email: dginty@akingump.com
28
                                              6
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 1         TO BE SERVED BY THE COURT VIA THE NOTICE OF ELECTRONIC FILING
           (NEF).      Pursuant to L.R. 5-3.2.3, the foregoing document will be served by the
 2         court via NEF and hyperlink to the document. I checked the CM/ECF docket for this
           case or adversary proceeding and determined that the following persons are on the
 3         Electronic Mail Notice List to receive NEF transmission at the addresses stated.
 4
            I declare under penalty of perjury under the laws of the United States of America,
 5   State of California that the foregoing is true and correct.
 6         Executed on     April 24, 2020   , at Riverside, California.
 7
                                                                /s/ Michelle Quiroz
 8
                                                                Michelle Quiroz
 9

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      JOINT STATUS REPORT RE MEDIATION EFFORTS AND ONGOING DISCUSSIONS BETWEEN COUNSEL
